            Case 4:23-cv-05735-KAW Document 1 Filed 11/07/23 Page 1 of 14




1    Your Nanie:                                    (iBrncy
2    Address:

3    Phone Number;

4    Fax Number:
                        "                                                        ^ f/led
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6
     E-mail Address:

     Pro Se Plaintiff        ^                                                ^ w»7m
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8                                         UNITED STATES DISTRICT COURT

9                                        NORTHERN DISTRICT OF CALIFORNIA

10

11    fUtWp. ^})l\sA/m^e/                                     Case Nifcibe    iv/^lankj
                                                                                                  35
12
                                                                                                  K/SW
13                          Plaintiff,                        COMPLAINT

14            vs.


15

16        ^p)<.m€Y <a\/4 n Mi£.UoPi<\                         DEMAND FOR JURY TRIAL

17         Cr^by Lo|:>e/?,                                    Yes      No □

18

19                           Defendant.

20

21

22                                                     PARTIES
          1. Plaintiff. [ Write vour name, address, and phone number. Add a page for additional
23            plaintiffs.]
24    Name:             (jjnn/fi. I/Jt iisirriey
25    Address:           diU f^/h/
26    Telephone:

27

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      COMPLAINT
      PAGE 1        OF         [JDC TEMPLATE- Rev. 05/2017]


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             Case 4:23-cv-05735-KAW Document 1 Filed 11/07/23 Page 2 of 14




1       2. Defendants. [IVrite each defendant'sfull name, address, and phone number.]
2    Defendant 1:

3    Name:          J                       art

4    Address;        "^10 -KsJP                               rfl >4 d/V S C. ^ Ca
5    Telephone:       ^1^
6    Defendant 2:

7    Name:

8    Address:           5?\0 /\\/^^               'r)a^r^ Frai/v f r r" ^              n ,^'V IJ3>
9    Telephone:                - 1 v/-2.-noi-7
10   Defendant 3:

11   Name:               r-vnV^,
12   Address:           9\ c> Avp t?L S--A
13   Telephone:     i4Sn'^3-d\
14

15                                             JURISDICTION
     [C/sHa//y only two types ofcases can befiled infederal court, cases involving "federal questions"
16   and cases involving "diversity ofcitizenship."Check at least one box.]
17       3. My case belongs in federal court
18      0 under federal question jurisdiction because it is involves a lederal law or right.
19   [Whichfederal law or right is involved?]
20

21      ^ under diversitv jurisdiction because none of the plaintiffs live in the same state as any ofthe
22    defendants and the amount of damages is more than $75,000. j
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                Y\(%Ve'           (i (2^hi'f CKJI (yw                         r'isVu-k
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      ^odr IYV2- O^lPr^d UJ'aHcf
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            Case 4:23-cv-05735-KAW Document 1 Filed 11/07/23 Page 3 of 14




                                                        VENUE

2    [The counties in this District are: Ahmeda, Contra Costa. Del Norte, Humholdt, Lake. Marin.
     Mendocino, Monterev, h'apa, Son Benito, Santa Clara, Santa Cruz, San Francisco, San Mateo. or
3    Sonoma. Ifone ofthe venue options below applies to your case, this District Court is the correct
     place tofile your lawsuit. Check the boxfor each venue option that applies.]
4

5           4.        Venue is appropriate in this Court because:
6                   ^ a substantial part of the e\ ents 1 am suing about happened in this district.
7                    ^ a substantial part of the property 1 am suing about is located in this district.
8                   ^ I am suing the U.S. government,federal agency, or federal official in his or her
9                        official capacity and I live in this district.
10
                     )L at least one defendant is located in this District and any other defendants are
                     [)U
11                       located in California.

12                                      INTRADISTRICT ASSIGNMENT

13
     [This District has three divisions:(I)San Francisco/Oakland (2)San Jose: and (3) Eureka. First
14
     write in the county in which the events you are suing about happened, and then match it to the
     correct division. The San Francisco/Gakland division covers Alamedu, Contra Costa, Marin, Napa,
15
     San Francisco, San Mateo, and Sonoma counties. The San .Jose division covers Monterey, San
     Benito, Santa Clara. Santa Cruz counties. The Eureka division covers Del Norte, Humboldt, Lake,
16
     Mendocino counties, only ifall parties consent to a magistrateJudge.]

17
               5.     Because this lawsuit arose in                                      County, it should be
18   assigned to the ^                                        oTvision ofthis Court.
19                                           STATEMENT OF FACTS

20    [Write a short and simple description ofthefacts ofyour case. Include basic details such as where
       the events happened, when things happened and who vtm involved. Put eachfact into a separate,
21    numbered paragraph, starting with paragraph number 6. Use more pages as needed.]
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           Case 4:23-cv-05735-KAW Document 1 Filed 11/07/23 Page 6 of 14




 1                                                CLAIMS

 2                                               First Claim

 3   (Name the law or right violated-. 5.PrJ-                ^
4    {Name the defendants who violated it:
 5   [Explain briefly here what the law is, what each defendant did to violate it, and how von were

6    harmed. You do not need to make legal arguments. You can refer back to your statement offacts.]
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           Case 4:23-cv-05735-KAW Document 1 Filed 11/07/23 Page 7 of 14



                                                                           -rt-




                                                  Claim

     {Name the law or right violated:
     {Name the defendants who violated it:




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                                                          DEMAND FOR RELIEF
                      [State what you want the Court to do. Depending on your claims, you may ask the Court to award
                      you money or order the defendant to do something or stop doing something. Ifyou are asking for
                      money, you can say how much you are asking for and why you should get that amount, or describe
                      the different kinds ofharm caused by the defendant.J




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            15                                        DEMAND FOR JURY TRIAL

            16      [Check this box ifyou want your case to be decided by aJiuy, instead ofajudge, ifallowed.^
            17
                               □ Plaintiff demands a jury trial on ail issues.
            18

            19

            20                                                    Respectfully submitted.
            21

            22      Date:                            Sign Name:
            23                                      Print Name:

            24

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Transcript of Statement of Facts presented by Minnie Kelly Currie

I was living in San Francisco In a condo 26^^ Avenue Apt 6 and the landlord was being very abusive,
downstairs neighbor was always in my garage without my permission and bothering me. I called the
police. The police came and said they never had a problem with me. The neighbor started arguing with
my son's friend. I called the police. We ended up going to court and won the case. They dropped the
case. In March 6, 2019 1 moved to Pittsburg, CA, with Catholic Charities help through the HAS program.

I didn't like the house in Pittsburg, and every six months would ask to move. There were a lot of things
wrong with the house, no electrical meter, it caught on fire at 2am in the morning. The neighbors said I
was living in a mortuary. In 2022 Catholic Charities moved me back to San Francisco.

How did 1 get across the world and my health care?
How did CCHP get to record me at 13 Lou Ann Place, Pittsburg, CA 94565 and get all my data?
Why did I get accused of all these diseases around the world that I never had?
How did I get in the emergency police system around the world?
How did that happen? I never had any of those diseases that they say I have? They said 1 have a bad
heart, but I took a test at Sutter Pacific (Webster St., San Francisco) and they said I have a good heart to
survive a hip replacement. I have the original discharge papers from Pittsburg and none of the diseases
are on Pittsburg's paperwork. Who is managing my healthcare as of right now? How did that happen? I
never had any of these diseases that they say I have? How can Medi-Cal doctor(440 Grant St) be at your
doctor's appointments? He said we will talk about Pittsburg, but we never did. How can people manage
me and I'm not sick? How can another county have license on me? 144 Harrison St., SF (Medi-Cal) said
they did not have a problem with me, but Pittsburg said they did.
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                            state of California-Health and Human Services Agency
                    Department of Health Care Services
                             P.O. Box 989009, West Sacramento, CA 95798-9850




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  232773NCI-RLM-10/n/2023

         MINNIE KELLY
        414F0NTBLVD
        SAN FRANCISCO CA 94132




                               Notice of Medi-Cal Health Plan Choices

Dear MINNIE KELLY,

You are getting this notice because you or the following people in your family have been a member
of a Medi-Cal managed care health plan for at least ten months:
MINNIE KELLY




You do not have to do anything if you and your family are happy with your current health care.
If you have questions or would like to change your health plan, call Health Care Options at
1 -800-430-4263, Monday - Friday, 8:00 a.m.- 6:00 p.m.to help you choose from the following:
Kaiser Permanente
San Francisco Health Plan
Anthem Blue Cross Partnership



*Note: only family members listed with an "*"can choose Regular Medi-Cal (Fee-For-Service).
Other places to get help with your health plan:
  . Visit www.healthcareoptlons.dhcs.ca.gov for more information;
   •   Read the Member Services section In your health plan material or;
   • If you are not happy about your health plan services, call the Department of Health Care
       Services Ombudsman at 1 -888-452-8609 or;
   •   Call the Department of Managed Health Care at 1-888-466-2219.
   •   TTY/TDD help line users please call 1 -800-430-7077.
Stay informed,if you have moved, plan to move or have changed your phone number, please give
your county worker your new contact information.

  For help call Health Care Options Monday - Friday,8:00 a.m.- 6:00 p.m.at 1-800-430-4263


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                         State of California-Health and Human Services Agency
                       Department of Health Care Services


Discrimination is Against the Law
Department of Health Care Services(DHCS)complies with applicable Federal and State civil rights laws.
DHCS does not unlawfully discriminate,exclude people,or treat them differently because of sex, race,color,
religion, ancestry, national origin,ethnic group identification, age, mental disability, physical disability,
medical condition, genetic information, marital status, gender,gender identity, or sexual orientation.

Services to Help You Understand Your Health Care Choices
DHCS provides free aids and services to people with disabilities to communicate effectively with DHCS.
Some of the services include:
•   Qualified sign language interpreters.
•   Written information in other formats such as large print, audio, accessible electronic formats and
    other formats. If you select Audio or Data CD as an alternative format,the information you get will
    not be encrypted (password protected). By choosing one of these options, you are saying that you
    understand that you will get your Medi-Cal notices and information in an electronic format that is
    not password protected. If you want your Medi-Cai notices and information in a password protected
    electronic format, please call 1-800-430-4263.
DHCS provides free language services to people whose main language is not English,such as:
•   Qualified interpreters.
•   Information written in other languages.
If you need any of these services, please contact Health Care Options at 1-800-430-4263.

Help Filing a Complaint
If you believe that DHCS has failed to provide these services or you have been discriminated against in
another way on the basis of sex, race,color, religion, ancestry, national origin, ethnic group identification,
age, mental disability, physical disability, medical condition,genetic information, marital status, gender,
gender identity or sexual orientation, you can file a grievance with the Office of Civil Rights at:
    PO Box 997413, MS 0009
    Sacramento,CA 95899-7413
    (916)440-7370,711 (California State Relay)
    Email: CivilRi9hts@dhcs.ca.gov
If you need help filing a grievance,the Office of Civil Rights can help you. Complaint forms are available
at: www.dhcs.ca.g0v/Pages/Language_Acce5s.aspx
If you believe you have been discriminated against on the basis of race,color, national origin, age,disability,
or sex, you can also file a civil rights complaint with the U.S. Department of Health and Human Services,
Office for Civil Rights online at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf or by mail or phone at:
    U.S. Department of Health and Human Services
    200 Independence Avenue SW • Room 509F, HHH Building
    Washington, D.C. 20201
    1-800-368-1019,(TTY)800-537-7697
    Complaint forms are available at www.hhs.gov/ocr/offjce/file/index.html

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English

ATTENTION: If you need help in your language call
1-800-430-4263(TTY: 1-800-430-7077). Aids and services
for people with disabilities, like documents in braille and
large print, are also available. Call 1 -800-430-4263
(TTY: 1-800-430-7077).These services are free of charge.
Arabic


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                      I ibgli" .(TTY: 1 -800-430-7077) 1-800-576-6881
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Armenian


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